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            9
                 Attorneys for Defendant Facebook, Inc.,
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          11                                   UNITED STATES DISTRICT COURT
          12                                 NORTHERN DISTRICT OF CALIFORNIA
                                                  SAN FRANCISCO DIVISION
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          15     IN RE: FACEBOOK, INC. CONSUMER                     CASE NO. 3:18-MD-02843-VC
                 PRIVACY USER PROFILE LITIGATION,
          16                                                        [PROPOSED] ORDER GRANTING
                                                                    FACEBOOK, INC.’S ADMINISTRATIVE
          17     This document relates to:                          MOTION TO FILE UNDER SEAL
                                                                    APPELLATE RECORD OF APPEAL OF
          18     ALL ACTIONS                                        SPECIAL MASTER’S AMENDED
          19                                                        ORDER RE: PRODUCTION OF ADI
                                                                    RELATED DOCUMENTS
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Crutcher LLP
                                                       [PROPOSED] ORDER
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            1                                         [PROPOSED] ORDER

            2           The Court has considered Facebook, Inc.’s (“Facebook”) Statement In Support of its

            3    Administrative Motion To File Under Seal Appellate Record Of Appeal Of Special Master’s

            4    Amended Order Re: Production Of ADI Related Documents (Dkt. 777), which seeks to seal limited

            5    portions of the Appellate Record For Facebook’s Appeal Of Special Master’s Amended Order Re:

            6    Production Of ADI Related Documents (the “Appellate Record) (Dkt. 777-3) that reveal confidential

            7    information regarding Facebook’s App Developer Investigation. Good cause having been shown,

            8    Facebook’s Administrative Motion To File Under Seal (Dkt. 777) is GRANTED. The Court hereby

            9    ORDERS:

          10            1.     The redacted version of the Appellate Record, attached as Exhibit A to the Declaration
                               of Alexander H. Southwell In Support Of Facebook’s Statement In Support Of Ad-
          11                   ministrative Motion To File Under Seal Appellate Record Of Appeal Of Special Mas-
                               ter’s Amended Order Re: Production Of ADI Related Documents, shall be filed on the
          12                   public docket.
          13            2.     The unredacted versions of the Appellate Record, attached as Exhibit B to the Decla-
                               ration of Alexander H. Southwell In Support Of Facebook’s Statement In Support Of
          14                   Administrative Motion To File Under Seal Appellate Record Of Appeal Of Special
                               Master’s Amended Order Re: Production Of ADI Related Documents, and filed at
          15                   Dkt. 777-3, shall be sealed permanently.
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          17     IT IS SO ORDERED.
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          19     DATE: ____________________                         ___________________________________
                                                                    JACQUELINE SCOTT CORLEY
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                                                                    United States Magistrate Judge
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Gibson, Dunn &
Crutcher LLP
                                                        [PROPOSED] ORDER
                                                      CASE NO. 3:18-MD-02843-VC
